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 6
     Attorneys for Plaintiffs
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10   VIRGINIA DUNCAN, et al.,                 Case No: 17-cv-1017-BEN-JLB
11                              Plaintiffs,   DECLARATION OF ANNA M.
12                                            BARVIR IN SUPPORT OF
                         v.                   PLAINTIFFS’ EX PARTE
13                                            APPLICATION FOR ORDER
     XAVIER BECERRA, in his official          EXTENDING PAGE LIMITATION
14   capacity as Attorney General of the
     State of California,
15
                                Defendant.
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                          DECLARATION OF ANNA M. BARVIR
                                                                         17cv1017
Case 3:17-cv-01017-BEN-JLB Document 131-2 Filed 12/01/22 PageID.16903 Page 2 of 4



 1                        DECLARATION OF ANNA M. BARVIR
 2            1.   I am an attorney at the law firm Michel & Associates, P.C., attorneys of
 3   record for Plaintiffs in this action. I am licensed to practice law before the United
 4   States District Court for the Southern District of California. I am also admitted to
 5   practice before the Eastern, Central, and Northern Districts of California, the courts
 6   of the state of California, the Supreme Court of the United States, and the D.C.,
 7   Fourth, Ninth, and Tenth Circuit Courts of Appeals. I have personal knowledge of
 8   the facts set forth herein and, if called and sworn as a witness, could and would
 9   testify competently thereto.
10            2.   On November 30, 2022, at 10:20 a.m., I sent an email to Deputy
11   Attorneys General Robert Meyerhoff (robert.meyerhoff@doj.ca.gov) and John
12   Echeverria (john.echeverria@doj.ca.gov), counsel of record for Defendant Attorney
13   General Rob Bonta, giving them notice of Plaintiffs’ Ex Parte Application for an
14   Order Extending the Page Limitation for their supplemental brief. I was directed to
15   Deputy Attorney General Kevin Kelly (kevin.kelly@doj.ca.gov) because Mr.
16   Meyerhoff is currently on leave.
17            3.   Mr. Kelly responded via email and informed me that his client’s
18   position is that “Local Rule 7.1(h) does not apply to limit the length of the court-
19   ordered briefing, since that rule pertains to briefs ‘in support of or in opposition to
20   motions’ and there is no pertinent motion currently pending before the Court." That
21   said, Mr. Kelly indicated that his client would not oppose Plaintiffs’ request for an
22   order extending the page limitation.
23            4.   Plaintiffs’ Ex Parte Application for Order Extending Page Limitation is
24   made in good faith and for good cause because they require more than 25 pages to
25   address the issues and evidence that the State raised in its 63-page supplemental
26   brief, and there is not enough time to bring a properly noticed motion since the Court
27   ordered Plaintiffs to file their supplemental brief just 21 days after the State filed its
28   brief.
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                           DECLARATION OF ANNA M. BARVIR
                                                                                       17cv1017
Case 3:17-cv-01017-BEN-JLB Document 131-2 Filed 12/01/22 PageID.16904 Page 3 of 4



 1         I declare under penalty of perjury that the foregoing is true and correct.
 2   Executed within the United States on December 1, 2022.
 3
 4
                                                   Anna M. Barvir
 5                                                 Declarant
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                          DECLARATION OF ANNA M. BARVIR
                                                                                    17cv1017
Case 3:17-cv-01017-BEN-JLB Document 131-2 Filed 12/01/22 PageID.16905 Page 4 of 4



 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: 17-cv-1017-BEN-JLB
 5
     IT IS HEREBY CERTIFIED THAT:
 6
 7          I, the undersigned, declare under penalty of perjury that I am a citizen of the
     United States over 18 years of age. My business address is 180 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, described as:
10
11   DECLARATION OF ANNA M. BARVIR IN SUPPORT OF PLAINTIFFS’ EX
      PARTE APPLICATION FOR ORDER EXTENDING PAGE LIMITATION
12
13   on the following parties by electronically filing the foregoing on December 1, 2022,
     with the Clerk of the District Court using its ECF System, which electronically
14
     notifies them.
15
     Rob Bonta
16
     Attorney General of California
17   Mark R. Beckington
     Supervising Deputy Attorney General
18
     Kevin J. Kelly
19   Deputy Attorney General
     300 South Spring Street, Suite 1702
20
     Los Angeles, CA 90013
21   kevin.kelly@doj.ca.gov
22
23        I declare under penalty of perjury that the foregoing is true and correct.
     Executed on December 1, 2022, at Long Beach, CA.
24
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26
                                                         Laura Palmerin
27
28
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                                 CERTIFICATE OF SERVICE
                                                                                       17cv1017
